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 7 United States of America

 8                            IN THE UNITED STATES DISTRICT COURT

 9                               EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                            CASE NO. 2:08-CR-376 WBS
12                               Plaintiff,               UNITED STATES’ MOTION TO
                                                          AMEND THIRD SUPERSEDING
13   v.                                                   INDICTMENT TO CORRECT
                                                          TYPOGRAPHICAL ERROR
14   LEONARD WILLIAMS,
15                               Defendants.
16

17          The United States of America submits this motion to correct a typographical error on page 5

18 of the Third Superseding Indictment. ECF No. 300, pg. 5. In the box at the top of the page, the

19 address on Linday Way is listed as 115416. The correct street number is 11516 Linday Way.
20 “Amendment of the indictment to fix typographical errors is appropriate as long as the error does not
                                                                       th
21 mislead the defendant.” United States v. Neill, 166 F.3d 943, 947 (9 Cir. 1999).

22                                        Respectfully submitted,

23

24 DATED: June 19, 2014

25                                        /s/ Audrey B. Hemesath________
                                          AUDREY B. HEMESATH
26                                        CHRISTOPHER S. HALES
                                          Assistant United States Attorneys
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           Case 2:08-cr-00376-WBS-AC Document 520 Filed 06/24/14 Page 2 of 2



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 2
                                                ORDER
 3
            Defense counsel having informed the clerk that defendant has no objection to the proposed
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     amendment to the Indictment, and it appearing that the amendment merely corrects a typographical
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     error and does not mislead the defendant, IT IS SO ORDERED.
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     Dated: June 24, 2014
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